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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF ARKANSAS


    DENARIUS M STALLINGS
                 (Plaintiff)

                              vs.                              Civil No.   4:22-CV-00579-BSM

    GIBSON, et al.
                         (Defendant)

                                       APPELLATE FILING FEE NOTICE

        Final Judgment was entered in this action on 11/23/2022. You are hereby notified that in
order to take an appeal from this judgment, you must file a Notice of Appeal.1 You are further
notified that if a Notice of Appeal is filed in this civil action that:

           (a)      the filing of a Notice of Appeal makes you liable for payment of the full $505
                    appellate filing fees regardless of the outcome of the appeal;

           (b)      by filing a Notice of Appeal, you consent to the deduction of the initial partial
                    appellate filing fee and the remaining installments from your prison account by prison
                    officials;

           (c)      you must submit to the clerk of the district court a certified copy of your prison
                    account for the last six months within 30 days of filing the Notice of Appeal; and

           (d)      failure to file the prison account information will result in the assessment of an initial
                    appellate partial fee of $35 or such other amount that is reasonable, based on
                    whatever information the court has about your finances.

           Pursuant to 28 U.S.C. § 1915(g) governing prisoner litigation:

           In no event shall a prisoner bring a civil action or appeal a judgment in a civil action or
           proceeding under this section if the prisoner has, on 3 or more prior occasions while
           incarcerated or detained in any facility, brought an action or appeal in a court of the United

1
    This office does not have Notice of Appeal forms for civil cases.
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       States that was dismissed on the grounds that it was frivolous, malicious, or fails to state a
       claim upon which relief may be granted.

      Pursuant to 28 U.S.C. §1915(b) governing prisoner litigation, if a Notice of Appeal is filed
you must:

       (a)    pay to the U.S. District Court the full $505 appellate filing fee at the time the Notice
              of Appeal is filed, or

       (b)    obtain leave to proceed in forma pauperis and pay an initial partial filing fee.

       To proceed in forma pauperis you must complete and return to the U.S. District Court the
following forms which are attached:

       1)     APPLICATION TO PROCEED WITHOUT PREPAYMENT OF FEES AND
              AFFIDAVIT. (See Attachment 1)

       2)     CALCULATION OF INITIAL PAYMENT OF FILING FEE. (See Attachment 2)

        The Court will review the documents and will notify you of its ruling. If these items are not
received within 30 days of filing a Notice of Appeal, a notice will be sent to the Court which will
result in the assessment of an initial appellate partial fee of $35 or such other amount that is
reasonable, based on whatever information the Court has about the prisoner’s finances.

       Dated on this 23rd day of November, 2022.



                                                 TAMMY H. DOWNS
                                                 CLERK OF COURT
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Eastern District of Arkansas

                 DENARIUS M STALLINGS                                         )
                          Plaintiff/Petitioner                                )
                               v.                                             )      Civil Action No.       4:22-CV-00579-BSM
                          GIBSON, et al.                                      )
                        Defendant/Respondent                                  )


        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of perjury:

         1. If incarcerated. I am being held at:                                                                       .
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. If not incarcerated. If I am employed, my employer=s name and address are:




My gross pay or wages are: $                                        , and my take-home pay or wages are: $                      per
 (specify pay period)                                        .

          3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

       (a) Business, profession, or other self-employment                            ’ Yes                     ’ No
       (b) Rent payments, interest, or dividends                                     ’ Yes                     ’ No
       (c) Pension, annuity, or life insurance payments                              ’ Yes                     ’ No
       (d) Disability, or worker=s compensation payments                             ’ Yes                     ’ No
       (e) Gifts, or inheritances                                                    ’ Yes                     ’ No
       (f) Any other sources                                                         ’ Yes                     ’ No

         If you answered AYes@ to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)


          4. Amount of money that I have in cash or in a checking or savings account: $                                             .

         5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else=s name (describe the property and its approximate
value):




         6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):




        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:




          8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):




       Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.


Date:
                                                                                                            Applicant’s Signature


                                                                                                                Printed name
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                                           CERTIFICATE
                                       (Prisoner Accounts Only)
                           (To be Completed by the Institution of Incarceration)

I certify that the applicant named herein has the sum of $______________ on account to his/her

credit at the __________________________________________ institution where he/she is confined.

I further certify that the applicant likewise has the following securities to his/her credit according to

the records of said institution:

                                                                                                       .

I further certify that during the past six months the applicant’s average balance was

$                      .




Date                                                 Signature of Authorized Officer of Institution
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             CALCULATION OF INITIAL PAYMENT OF FILING FEE

                         (To be Completed by the Institution of Incarceration)


PLAINTIFF:

ADC NUMBER:

FEDERAL COURT CASE NUMBER (IF KNOWN):

              Total deposits for last six (6) months:                            $

              Average monthly deposit (total deposits divided by 6):             $

              Total balances for last six (6) months:                            $

              Average monthly balance:                                           $
              (Total balances divided by 6)

              Current account balance:                                           $

              Initial payment of filing fee as of                 :              $

              (The greater of the average monthly deposit
              Or the average monthly balance x .20)



DATE:                                AUTHORIZED OFFICIAL


                            (NO FILING FEE SHALL BE IN EXCESS OF
                                 $350.00 FOR A CIVIL LAWSUIT
                                              OR
                                    $505.00 FOR AN APPEAL)
